
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit

                                 ____________________

        No. 96-1470

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  FREDERICK CARDOZA,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                               Selya, Circuit Judge, and
                                      _____________

                      Coffin and Bownes, Senior Circuit Judges.
                                         _____________________

                                 ____________________

            Jeffrey M. Smith, with whom John M. Moscardelli and Peters, Smith
            ________________            ___________________     _____________
        &amp; Moscardelli were on brief for appellant.
        _____________
            Ralph F. Boyd, Jr., Assistant United States Attorney, with whom
            __________________
        Donald K. Stern, United States Attorney, and Dina Michael Chaitowitz,
        _______________                              _______________________
        Assistant United States Attorney, were on brief for appellee.

                                 ____________________

                                   October 27, 1997
                                 ____________________
























                      BOWNES, Senior Circuit  Judge.  Defendant-Appellant
                      BOWNES, Senior Circuit  Judge.
                              _____________________

            Frederick Cardoza appeals his convictions  and sentence under

            the  felon-in-possession statute, 18  U.S.C.    922(g)(1) and

            the  Youth Handgun Safety Act, 18 U.S.C   922(x).  His appeal

            is primarily  based  on  multiple  constitutional  arguments,

            which shall be addressed in turn.  We affirm.

                                        Facts
                                        Facts

                      We review  the facts in the light most favorable to

            the verdict.  United States v. Wihbey, 75 F.3d 761,  764 (1st
                          _____________    ______

            Cir. 1996).  In July of 1995, a sixteen-year-old acquaintance

            of Cardoza, Myron Ragsdale, asked Cardoza to secure a handgun

            for him to purchase.  Cardoza found a dealer willing to  sell

            a  nine-millimeter  semiautomatic  handgun  to  Ragsdale  for

            $200.00.  On the night of July 14, 1995, Cardoza and Ragsdale

            went to Walnut  Park in Roxbury,  Massachusetts, to make  the

            gun purchase.  Ragsdale paid $200.00 for the handgun and nine

            rounds  of ammunition.   Ragsdale  loaded the gun  with eight

            rounds  of ammunition,  and Cardoza  took  possession of  the

            ninth round.

                      Sometime  after  the   transaction  was  completed,

            Cardoza and Ragsdale began walking along Humboldt Avenue.  As

            they walked,  Ragsdale had the  handgun in his  waistband and

            Cardoza  carried the single round of  ammunition in his hand.

            By this time it was approximately 2:00 a.m. on the morning of

            July 15.  They were  spotted walking along Humboldt Avenue by



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            four  officers of the  Boston Police's Youth  Violence Strike

            Force who were patrolling the area in an unmarked police car.

            One of the  officers in the car, Gregory  Brown, noticed that

            Cardoza and  Ragsdale were acting  indecisively about whether

            to continue walking up Humboldt, or instead cross  the street

            in front  of the police  car.  Moving slowly,  the police car

            approached Cardoza and Ragsdale from  behind.  As the  patrol

            car approached, Cardoza and  Ragsdale crossed Humboldt Avenue

            in order to walk up the sidewalk of Ruthven Street, a one-way

            thoroughfare  that emptied  onto Humboldt  Avenue.   As  they

            crossed in front  of the car, Officer Brown,  who was sitting

            in the back seat on the driver's side, recognized Cardoza and

            directed the  driver to  make a left  turn off  Humboldt, and

            proceed the  wrong  way  up  Ruthven for  a  short  distance.

            Officer Brown testified  that he wanted  to ask Cardoza  some

            questions concerning a  shooting incident  that had  occurred

            some days earlier.  The driver took the left turn, and pulled

            over to the curb just  off Humboldt, facing the wrong  way on

            Ruthven Street.

                      Officer Brown, whose window was rolled down, called

            out  to Cardoza,  asking "What's  up Freddie?   What  are you

            doing out this time of  night?"  Cardoza stopped, turned, and

            approached  the patrol  car.   Ragsdale  continued walking  a

            short distance.  Officer Brown remained in the car conversing

            with Cardoza through the open car window.   As he talked with



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            Officer  Brown, Cardoza  began  to  gesture  with  his  hand,

            exposing  the  round of  ammunition.    Seeing the  round  of

            ammunition, Brown exited  the patrol car,  and began to  pat-

            frisk Cardoza.   At the same time, two  other officers exited

            the  car and approached and pat-frisked Ragsdale, discovering

            the handgun loaded with eight rounds of ammunition.

                      Cardoza  was  indicted  on four  counts.    Count I

            charged Cardoza with being a felon-in-possession of one round

            of ammunition, in violation of  18 U.S.C.   922(g)(1).  Count

            II  charged Cardoza under  the same statutory  provision with

            being a  felon-in-possession of  the semi-automatic  firearm,

            based on  his alleged  possession of the  weapon for  a short

            period  of time  after the  transaction.   Count III  charged

            Cardoza with  causing the sale,  delivery, and transfer  of a

            handgun  to  a juvenile  in  violation of  the  Youth Handgun

            Safety Act, codified at 18 U.S.C.   922(x).  Count IV charged

            Cardoza with aiding and abetting a juvenile in the possession

            of a handgun  in violation of  the same.   A jury returned  a

            guilty verdict  on Counts  I, III, and  IV, and  acquitted on

            Count  II.    Following  the   jury  verdict,  but  prior  to

            sentencing, the district court  issued a memorandum detailing

            its refusal to grant both Cardoza's motion to dismiss and his

            motion for judgment of acquittal.  United States  v. Cardoza,
                                               _____________     _______

            914  F.  Supp. 683  (D.  Mass.  1996).   The  district  court

            sentenced  Cardoza  under  the Guidelines  to  235  months of



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            imprisonment  and five  years of  supervised  release.   This

            appeal followed.

                                          I.
                                          I.

                             The Meaning of "Ammunition"
                             The Meaning of "Ammunition"

                      Cardoza launches  his appeal  by  arguing that  the

            single  nine  millimeter  bullet which  he  was  convicted of

            possessing  is  not  "ammunition" within  the  meaning  of 18

            U.S.C.   922(g).  We disagree.

                      Cardoza was  convicted of  violating the  felon-in-

            possession  statute, which makes  it illegal for  a convicted

            felon "to  possess in or  affecting commerce, any  firearm or

            ammunition . .  . ."  18 U.S.C    922(g)(1)(West Supp. 1997).

            "Ammunition" is  defined as  "ammunition or cartridge  cases,

            primers,  bullets, or propellent  powder designed for  use in

            any  firearm."  18  U.S.C.   921(a)(17)(A)(West  Supp. 1997).

            Cardoza  suggests  first that  the  statutory  definition, by

            including  the plural words  "cases, primers,  [and] bullets"

            bans  only  the  possession   of  more  than  one   piece  of

            ammunition.  Second,  he suggests that the  word "ammunition"

            itself always means multiple rounds.  Finally, Cardoza argues

            that the definition of "ammunition" is sufficiently ambiguous

            to require application of the "rule of lenity," United States
                                                            _____________

            v. Lanier, 117 S. Ct. 1219,  1225 (1997), in his favor.   The
               ______

            court below  determined that  "[n]o amount  of wordplay  will

            contradict  the plain  meaning  of  the  statute,  an  honest



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            reading  of which leads  to the inexorable  conclusion that a

            single  nine millimeter bullet  . . .  constitutes ammunition

            for the purposes of [ 922 (g)(1)]."  Cardoza, 914 F. Supp. at
                                                 _______

            686-87. 

                      This question  is  one  of  statutory  construction

            which  we review de novo.   Strickland v. Commissioner, Maine
                                        __________    ___________________

            Dep't of Human Servs., 96 F.3d 542, 545 (1st Cir. 1996).   In
            _____________________

            this instance,  we need not  venture far beyond the  words of

            the statute.  

                       We think the  common sense, everyday understanding

            of  the  word  "ammunition" encompasses  a  single  bullet or

            cartridge. See O'Connell  v. Shalala, 79  F.3d 170, 176  (1st
                       ___ _________     _______

            Cir. 1996) ("courts are bound to afford statutes a practical,

            commonsense  reading").     Thus   courts,  and   the  public

            generally, refer  to ammunition  in terms  of "rounds."   See
                                                                      ___

            United States  v. Brimage, 115  F.3d 73, 76 (1st  Cir. 1997),
            _____________     _______

            cert. denied,  No. 97-5971,  1997 WL  592723  (U.S. Oct.  14,
            _____ ______

            1997)("loaded with six rounds of ammunition"); United  States
                                                           ______________

            v. Balanga,  109 F.3d  1299, 1300 (8th  Cir. 1997)("a  single
               _______

            round of .22 caliber ammunition").   If the word "ammunition"

            was incapable of meaning one bullet, one would not refer to a

            "single round of ammunition."1 

                                
            ____________________

            1.  We  note that even the Supreme  Court has assumed, albeit
            in dicta, that  the term "ammunition" means a  single bullet.
            See United  States  v.  Batchelder, 442  U.S.  114,  121  n.7
            ___ ______________      __________
            (1979)("[B]ecause     922(h)  alone  proscribes  receipt   of
            ammunition,  a felon  who  obtained  a  single  bullet  could

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                      To  hold otherwise  would result  in an  absurdity.

            Marques  v. Fitzgerald,  99 F.3d  1, 5  (1st Cir.  1996)("[A]
            _______     __________

            statute  may not  be construed  in a  manner that  results in

            absurdities or  defeats its underlying  purpose.").  Congress

            enacted the  Omnibus Crime Control  and Safe  Streets Act  of

            1968  (of which    922(g)'s  predecessor was  a  part), inter

            alia, to keep certain weaponry "out of the hands of those not

            legally entitled  to possess them  because of . .  . criminal

            background  .  . .  ."  S. Rep.  No.  90-1097, at  28 (1968),

            reprinted in  1968  U.S.C.C.A.N.  2112,  2113.      It  would
            _________ __

            therefore   make  little  sense  to  interpret     922(g)  to

            criminalize  possession of  two bullets,  but  not one,  when

            Congress'  purpose  was  to deprive  certain  persons  of any

            firepower. 

                                         II.
                                         II.

                            The Interstate Commerce Nexus
                            The Interstate Commerce Nexus

                      Cardoza next assigns error to the  district court's

            failure to dismiss  the indictment, arguing that  the Supreme

            Court's  decision in  United States  v.  Lopez, 514  U.S. 549
                                  _____________      _____

            (1995), compels  a finding that  both 18 U.S.C.    922(g) and

              922(x) as applied  to him exceed congressional  power under

            the Commerce Clause.  Our review of constitutional challenges

            to federal statutes is de  novo.  United States v. Bongiorno,
                                              _____________    _________

            106 F.3d 1027, 1030 (1st Cir. 1997).  

                                
            ____________________

            receive a 5-year sentence . . . ."). 

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                      In  Lopez the Court struck down the Gun-Free School
                          _____

            Zones  Act  of   1990  ("GFSZA"),   which  criminalized   the

            possession of a handgun within a school zone, as being beyond

            the  reach of Congress' affirmative powers under the Commerce

            Clause.   514 U.S. at  567-68.   Identifying the GFSZA  as an

            attempted   regulation   of    purely   intrastate   activity

            (possession alone) that has an effect on interstate commerce,

            the Court  clarified existing  precedent to  hold that  where

            Congress  attempts to control such activity, the "proper test

            [of the statute's constitutionality] requires an  analysis of

            whether  the   regulated  activity   'substantially  affects'

            interstate commerce."   Id. at 559.   Because the "possession
                                    ___

            of a gun in  a local school zone is  in no sense an  economic

            activity   that   might,    through   repetition   elsewhere,

            substantially affect any  sort of interstate commerce,"   id.
                                                                      ___

            at 567, enactment  of the GFSZA exceeded  congressional power

            under the Commerce Clause.

                      Cardoza  urges  us  to  extend  the  Court's  Lopez
                                                                    _____

            reasoning to the  statutes under which he was  convicted.  We

            address each statute in turn.

                                          A.
                                          A.

                                18 U.S.C.   922(g)(1)
                                18 U.S.C.   922(g)(1)

                      As an  initial matter,  it is  now well-settled  in

            this    circuit   that   "a    facial   challenge    to   the

            constitutionality of  the statute  at issue,  [  922(g)],  is



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            'hopeless  on . .  . the law.'"   United States  v. Blais, 98
                                              _____________     _____

            F.3d 647, 649 (1st  Cir. 1996), cert. denied, 117 S. Ct. 1000
                                            _____ ______

            (1997)(quoting United States v. Bennett, 75 F.3d 40, 49  (1st
                           _____________    _______

            Cir.), cert. denied, 117 S. Ct. 130 (1996)).  Cardoza instead
                   _____ ______

            argues that    922(g) exceeds  congressional commerce  clause

            authority because it  fails to require proof  that possession

            of  a  single  ammunition cartridge  "substantially  affects"

            interstate  commerce   as  purportedly  mandated   by  Lopez.
                                                                   _____

            Cardoza would  therefore have  us hold  that Lopez  impliedly
                                                         _____

            changes  the meaning of the jurisdictional element present in

              922(g)  such that  the ammunition  which he  possessed must

            have "substantially affected" interstate  commerce before his

            conviction passes Commerce Clause scrutiny.  This application

            of the Lopez decision to    922(g) has been rejected by  this
                   _____

            court  more than once.  United States v. Smith, 101 F.3d 202,
                                    _____________    _____

            215 (1st  Cir. 1996), cert.  denied, 117 S. Ct.  1345 (1997);
                                  _____  ______

            Blais,  98 F.3d  at  649;  see also  United  States v.  Diaz-
            _____                      ___ ____  ______________     _____

            Martinez,  71  F.3d  946,  953  (1st  Cir.  1995)  (rejecting
            ________

            identical argument in appeal from   922(k) conviction).

                      To be perfectly  clear, when the Court  stated that

            "the   proper  test  requires  an  analysis  of  whether  the

            regulated   activity   'substantially   affects'   interstate

            commerce,"  Lopez,  514 U.S. at 559, it  was not revising the
                        _____

            government's burden of  proof on a jurisdictional  element in

            criminal proceedings,  but instead identifying  the extent to



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            which  purely intrastate  activities  must impact  interstate

            commerce  before  Congress may  legislate under  the Commerce

            Clause.   See United States  v. Robertson, 514 U.S.  669, 671
                      ___ _____________     _________

            (1995)(per   curiam)("The  'affecting   commerce'  test   was

            developed  in our  jurisprudence  to  define  the  extent  of

            Congress's power over purely intrastate commercial activities
                                         _____

            that  nonetheless  have  substantial  interstate  effects.").
                                                  _____

            Therefore, because  the Court  had no  occasion  in Lopez  to
                                                                _____

            reach the  question, 514 U.S.  at 561-62, it remains  the law

            that   where   a   federal   criminal   statute  contains   a

            jurisdictional element requiring proof that an object was "in

            or affecting"  commerce, the  government need  only meet  the

            "minimal  nexus"  test  enunciated in  Scarborough  v. United
                                                   ___________     ______

            States,  431 U.S. 563,  577 (1977).   Blais,  98 F.3d  at 649
            ______                                _____

            ("Scarborough is still  good law after Lopez.").  Because the
              ___________                          _____

            government  proved  below that  the ammunition  cartridge had

            moved  in interstate commerce,  the district  court correctly

            denied Cardoza's motion to dismiss Count I.

                                          B.
                                          B.

                                  18 U.S.C.   922(x)
                                  18 U.S.C.   922(x)

                      Raising  a question  of  first  impression in  this

            circuit, Cardoza next urges us  to extend the Lopez reasoning
                                                          _____

            to   his  conviction  under  the  Youth  Handgun  Safety  Act

            ("YHSA"), codified  at 18 U.S.C.    922(x).  Because  we find

            that  the  YHSA  regulates the  national  juvenile  market in



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            handguns by prohibiting certain  intrastate activities, it is

            a proper exercise of Congress'  authority.  See United States
                                                        ___ _____________

            v. Michael R., 90 F.3d 340, 343-45 (9th Cir.  1996)(upholding
               __________

            YHSA against Lopez-based Commerce Clause challenge).
                         _____

                      The Commerce  Clause gives  Congress  the power  to

            "regulate Commerce  . .  . among the  several States."   U.S.

            Const., art. I,   8, cl. 3.  The Supreme Court has recognized

            three categories of activities which Congress may reach under

            this provision.  Lopez, 514 U.S. at 558-59.
                             _____

                      First, Congress  may regulate the  use of
                      the  channels  of   interstate  commerce.
                      Second, Congress is empowered to regulate
                      and  protect  the   instrumentalities  of
                      interstate commerce, or persons or things
                      in interstate  commerce, even  though the
                      threat  may  come  only  from  intrastate
                      activities.  Finally,  Congress' commerce
                      authority includes the  power to regulate
                      those  activities  having  a  substantial
                      relation  to  interstate  commerce, those
                      activities   that  substantially   affect
                      interstate commerce.

            Id.   Our review of  a statute's constitutionality  under the
            ___

            Commerce Clause is decidedly limited.   First, we must "defer

            to  a  congressional   finding  that  a   regulated  activity

            [substantially]2 affects interstate commerce, if there is any

            rational  basis for  such  a  finding."   Hodel  v.  Virginia
                                                      _____      ________

            Surface Mining &amp;  Reclamation Ass'n, Inc., 452  U.S. 264, 276
            _________________________________________


                                
            ____________________

            2.  As explained supra, the Lopez majority modified the Hodel
                             _____      _____                       _____
            standard   to   require   a   finding   that   the   activity
            "substantially affects" interstate commerce.  Lopez, 514 U.S.
                                                          _____
            at 559.

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            (1981).   Second, "the  only remaining question  for judicial

            inquiry  is  whether  'the  means chosen  by  [Congress][are]

            reasonably   adapted   to   the   end   permitted    by   the

            Constitution.'"   Id. (first alteration  in original)(quoting
                              ___

            Heart of Atlanta Motel, Inc.  v. United States, 379 U.S. 241,
            ____________________________     _____________

            262 (1964)).

                      By   invoking  Lopez   as   the  sole   controlling
                                     _____

            authority,  Cardoza is  arguing  that the  YHSA  can only  be

            upheld  as an  example  of  the  third  permitted  category.3

            Although  we think the YHSA "is likely supportable under more

            than one of  these rubrics," Bongiorno, 106 F.3d  at 1031, we
                                         _________

            meet Cardoza's contention, and find that the intrastate sale,

            transfer,  delivery, and  possession of  handguns  to and  by

            juveniles  sufficiently impact  interstate  commerce to  pass

            constitutional muster.  

                      To begin with, we note that the  Commerce power has

            long  been exercised  to  regulate  the  national  market  in

            firearms.  See  Huddleston v.  United States,  415 U.S.  814,
                       ___  __________     _____________

            824-29 (1974)(assuming  congressional power to  enact federal

            gun  control legislation); United  States v. Rybar,  103 F.3d
                                       ______________    _____

            273, 279-82 (3d  Cir. 1996)(compiling history of  federal gun

            control legislation  in rejecting Lopez-based challenge  to  
                                              _____

            922(o)), cert. denied, No. 96-1738, 1997 WL 250325 (U.S. Oct.
                     _____ ______


                                
            ____________________

            3.  This is so because Lopez expressly avoided analysis of
                                   _____
            the first two categories.  514 U.S. at 559. 

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            6,  1997).   Thus  in  Rybar, the  Third  Circuit upheld  the
                                   _____

            constitutionality  of  a federal  criminal statute  making it

            illegal to "transfer  or possess a  machinegun," 18 U.S.C.   

            922(o)(1) (West Supp. 1997), stating that 

                      [t]here  was no  reason  for Congress  to
                      believe that traffic  in machine guns had
                      any       less       connection      with
                      interstate commerce    than    did    the
                      possession of  a firearm by a  felon, and
                      Congress' intent  to regulate  possession
                      and transfer  of machine guns as  a means
                      of stemming interstate gun trafficking is
                      manifest.

            Id. at 282.  
            ___

                      Under  the   third  permitted   category,  "[w]here

            economic activity substantially  affects interstate commerce,

            legislation  regulating  that  activity will  be  sustained."

            Lopez, 514 U.S.  at 560.  As  an initial matter we  find that
            _____

            the  YHSA is a regulation  of economic activity.   This is so

            because it  prohibits expressly commercial  activity, namely,

            the sale, transfer, or delivery of handguns to juveniles.  It

            therefore  stands   in  direct  opposition   to  the  statute

            invalidated in Lopez, which "by its terms ha[d] nothing to do
                           _____

            with 'commerce'  or any sort of economic  enterprise . . . ."

            Id. at 561.  
            ___

                      Similarly,  we think  the possessory  prong of  the

            YHSA,  under  which  Cardoza  was  convicted  of  aiding  and

            abetting, is  "an essential  part of  a larger regulation  of

            economic  activity, in which  the regulatory scheme  could be



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            undercut unless the intrastate activity were regulated."  Id.
                                                                      ___

            This is so because the YHSA was designed expressly to "stop[]

            the commerce in  handguns with juveniles nationwide .  . . ."

            H.R. Conf. Rep. No. 103-711, at 391 (1994), reprinted in 1994
                                                        _________ __

            U.S.C.C.A.N.  1858, 1859.   Part of this  regulatory approach

            involves the  suppression of  the demand  for such  handguns.

            The  YHSA can  be thus  seen  as criminalization  of the  two

            points where  the prohibited  commerce finds  its nexus;  the

            demand  for  the  firearms  (possession),  and  the  sale  or

            transfer  designed to meet that demand.  The two prohibitions

            go hand in hand  with one another.  Invalidation of  one half

            of the equation would likely have deleterious effects on  the

            efficacy of  the legislation.   In this  regard, we  think it

            clear that given  Congress' express purpose, its  decision to

            punish   both  the  supply  (sale  or  transfer)  and  demand

            (possession)  sides of  the  market  is  a  means  reasonably

            calculated to achieve its end.  Hodel, 452 U.S. at 276.  
                                            _____

                      So  far, we have determined that the YHSA regulates

            economic  activity, and that the possessory prong of the YHSA

            is integral to the regulation.   Assuming, then, for purposes

            of this  appeal, that  the regulated  activity occurs  solely

            intrastate,  we  must  now  pass  on  whether  this  activity

            "substantially affects" interstate  commerce.  We turn  first

            to the legislative  findings on the matter.   Lopez, 514 U.S.
                                                          _____

            at 562  ("we of  course consider legislative  findings .  . .



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                                          14















            regarding effect on interstate commerce . . . .").  Concerned

            that "[c]rime, particularly  crime involving drugs and  guns,

            is  a pervasive, nationwide  problem; problems with  crime at

            the local level are exacerbated by the interstate movement of

            drugs,  guns and criminal gangs; firearms and ammunition, and

            handguns in  particular, move easily in interstate commerce,"

            H.R. Conf. Rep. No. 103-711, at 390 (1994), reprinted in 1994
                                                        _________ __

            U.S.C.C.A.N. 1858, Congress  found that "it is  necessary and

            appropriate  to assist  the States  in  controlling crime  by

            stopping the commerce in handguns with juveniles nationwide .

            .  .  ."   Id.  at  391,  1994 U.S.C.C.A.N.  at  1859.   This
                       ___

            indicates  that  Congress  determined  that  the  market  for

            handguns among juveniles was national.   We do not think this

            observation can be seriously disputed.  As the court in Rybar
                                                                    _____

            concluded,  "[c]ongressional  findings  generated  throughout

            Congress' history of  firearms regulation link both  the flow

            of  firearms  across  state  lines  and  their  consequential

            indiscriminate  availability   with  the   resulting  violent

            criminal  acts that are  beyond the effective  control of the

            state."  103 F.3d at 279.  

                      The  answer,  therefore, to  whether  an intrastate

            market in handguns for  juveniles "substantially affects" the

            interstate market  in such  commodities is  obvious.   Simply

            put,  the  handgun must  come  from somewhere,  often  out of

            state.  Indeed, it is worth noting here  that even though the



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            YHSA  does not require it, the government introduced evidence

            at trial  that the  handgun transferred  to Ragsdale  had, in

            fact, been  manufactured outside  Massachusetts.   Therefore,

            the supply  and demand for  handguns in any given  state will

            "substantially  affect" interstate  commerce  in handguns  by

            causing the weapons to move across state lines.  

                      In  Lopez,  the  Court  examined  its  decision  in
                          _____

            Wickard  v. Filburn,  317 U.S.  111 (1942), stating  that the
            _______     _______

            decision  was "perhaps  the  most  far  reaching  example  of

            Commerce Clause authority  over intrastate activity . .  . ."

            Lopez, 514  U.S. at 560-61.   Still, Chief  Justice Rehnquist
            _____

            quoted with  approval the Wickard analysis that  "a factor of
                                      _______

            such volume and variability as home-consumed wheat would have

            a substantial influence on price and market conditions."  Id.
                                                                      ___

            at  560 (quoting  Wickard, 317  U.S. at 128).   We  think the
                              _______

            intrastate  commerce  in   handguns  goes  well  beyond   the

            "substantial influence"  present in  Wickard.   As such,  the
                                                 _______

            YHSA is proper under the Commerce Clause.

                                         III.
                                         III.

                              The Fourth Amendment Claim
                              The Fourth Amendment Claim

                      Cardoza next challenges the district court's denial

            of  his  motion to  suppress  the  bullet, arguing  that  the

            evidence was  the result  of an  unconstitutional search  and

            seizure.  Cardoza  suggests that because the  police admitted

            that they did  not have reasonable and  articulable suspicion



                                         -16-
                                          16















            to  "Terry-stop" Cardoza, discovery of the bullet flowed from

            an  unreasonable seizure,  and thus  must be  excluded.   See
                                                                      ___

            generally United  States v. Zapata, 18 F.3d  971, 975-77 (1st
            _________ ______________    ______

            Cir. 1994).   Because  we agree that  there was  no "seizure"

            within the  meaning of the  Fourth Amendment at the  time the

            police officer saw  the bullet in  Cardoza's hand, we  uphold

            the lower court's denial of Cardoza's suppression motion.

                      Our  review  of   a  lower  court's  denial   of  a

            suppression motion  is bifurcated.   We  review the  district

            court's  findings of fact  for clear error,  United States v.
                                                         _____________

            Young, 105 F.3d 1, 5 (1st Cir.  1997), which "exists only if,
            _____

            after considering  all of  the evidence, we  are left  with a

            definite and firm  conviction that a mistake  has been made,"

            id. (quoting United States v. McCarthy, 77 F.3d 522, 529 (1st
            ___          _____________    ________

            Cir.), cert. denied,   117 S. Ct. 479 (1996)).   As we stated
                   _____ ______

            in  Young, this deference  to the lower  court's fact finding
                _____

            "reflects our  awareness that the  trial judge . .  . sits in

            the best position to determine what  actually happened."  Id.
                                                                      ___

            Conversely,  we review conclusions of law de novo, subjecting

            constitutional  interpretations  to  plenary  review.    Id.;
                                                                     ___

            Ornelas  v.  United States,  116  S. Ct.  1657,  1663 (1996).
            _______      _____________

            Finally, as  a general matter,  we uphold a  district court's

            denial  of a suppression motion "provided that any reasonable

            view of the  evidence supports the  decision."  McCarthy,  77
                                                            ________

            F.3d at 529.



                                         -17-
                                          17















                      We  begin with the factual findings of the district

            court, which do  not differ in substance  from our recitation

            of the facts supra.  The record demonstrates that portions of
                         _____

            the  police officer's  as well  as  Cardoza's and  Ragsdale's

            testimony were credited in making the findings.   The court's

            findings of fact are supported by the evidence, United States
                                                            _____________

            v.  Sealey, 30 F.3d  7, 8 (1st  Cir. 1994), and  we detect no
                ______

            error.  

                      Turning  to  the court's  rulings  of  law, Cardoza

            argues that because  the court stated at the  hearing that in

            the absence of a response  from Cardoza, "the police officers

            would have run  them down," the court was  in essence finding

            that  Cardoza was  seized by  the time  the bullet  was seen.

            Although  the lower court's  legal conclusions on  the Fourth

            Amendment  issue lack the precision and clarity desirable for

            appellate  review,  we think  Cardoza's argument  ignores the

            entirety of the court's  reasoning in favor of an  irrelevant

            aside.  Reading the   findings in total, it is  apparent that

            the  court determined  that there  was  no "stop"  within the

            meaning of  Terry v. Ohio, 392 U.S.  1 (1968).  Our reasoning
                        _____    ____

            is  as follows.   The  court found  that prior to  seeing the

            bullet in his  hand, the police  had no  basis upon which  to

            constitutionally detain Mr. Cardoza.   Yet it went on to hold

            that  the interaction between  Officer Brown and  Cardoza was

            "lawful," and provided no grounds  upon which to exclude  the



                                         -18-
                                          18















            evidence.  Under current  Fourth Amendment jurisprudence, the

            only way  the district court  could have determined  that the

            interaction was lawful (here meaning constitutional) and also

            hold that there  was no reasonable and  articulable suspicion

            upon which to  detain Cardoza, was for it to  decide that the

            police were  not detaining,  or seizing,  Cardoza within  the

            meaning of the Fourth Amendment.4  We conclude therefore that

            the  court below  determined  that there  was  no seizure  of

            Cardoza prior to  Officer Brown's sighting  of the bullet  in

            Cardoza's hand.    See  McCarthy,  77  F.3d  at  525  ("Where
                               ___  ________

            specific  findings are  lacking, we  view the  record in  the

            light most  favorable to  the ruling,  making all  reasonably

            supported inferences.").

                      We now  turn to  the gravamen  of Cardoza's  Fourth

            Amendment  argument,  namely,  whether  the district  court's

            determination that there  was no seizure was correct.   To be

            sure, "not  all  personal intercourse  between policemen  and

            citizens involves 'seizures' of persons."  Terry, 392 U.S. at
                                                       _____

                                
            ____________________

            4.  The government  also suggests  that because  the district
            court  inferred  that  Cardoza  deliberately  approached  the
            cruiser in order to throw  the police off Ragsdale, there was
            no "submission  to"  a police  show of  authority within  the
            meaning of California v. Hodari D., 499 U.S. 621, 626 (1991),
                       __________    _________
            because of the fact that Cardoza's actions were motivated not
            by  acquiescence to  a  police request,  but  rather his  own
            strategic decision.  We  note only that, given  the generally
            objective standards  employed  in  Fourth  Amendment  seizure
            analysis,  we would  see little  reason  to inquire  into the
            subjective intent of the detainee in making the determination
            whether  or  not he  or  she  has "submitted  to"  a show  of
            authority.

                                         -19-
                                          19















            19  n.16.   Instead, "[i]nteraction  between law  enforcement

            officials  and citizens generally falls within three tiers of

            Fourth Amendment analysis,  depending on the level  of police

            intrusion into  a person's privacy."   Young, 105 F.3d  at 5.
                                                   _____

            The first  tier "encompasses  interaction  of such  minimally

            intrusive nature that  it does not trigger the protections of

            the Fourth Amendment."  Id.  It has therefore been recognized
                                    ___

            that police  officers may approach citizens in public and ask

            questions  without  the  need  for articulable  suspicion  of

            criminal  activity.  Florida v. Bostick, 501 U.S. 429, 434-35
                                 _______    _______

            (1991); Young, 105 F.3d at 6.  
                    _____

                      Undoubtedly,  Fourth  Amendment analysis  does  not

            easily lend itself to bright  line distinctions.  See Zapata,
                                                              ___ ______

            18 F.3d at 975.  It is therefore the case that, 

                      in   order   to   determine   whether   a
                      particular   encounter    constitutes   a
                      seizure,  a court  must consider  all the
                      circumstances  surrounding  the encounter
                      to determine  whether the  police conduct
                      would have  communicated to  a reasonable
                      person that  the person was  not free  to
                      decline   the   officers'   requests   or
                      otherwise terminate the encounter.  

            Bostick, 501 U.S.  at 439.  The test employed in this area is
            _______

            highly  fact specific.   As  a result,  the Court  in Bostick
                                                                  _______

            rejected a per se rule  that police drug interdiction efforts

            on  bus  lines   were  always  unconstitutional  because   it

            determined   that  any  analysis  that  hinged  on  a  single

            dispositive  factor  foreclosed  consideration  of  "all  the



                                         -20-
                                          20















            circumstances . . . ."  Id.  See also Michigan v. Chesternut,
                                    ___  ___ ____ ________    __________

            486 U.S.  567, 572  (1988) ("[A]ny  assessment as  to whether

            police  conduct amounts to  a seizure implicating  the Fourth

            Amendment must  take into  account all  of the  circumstances

            surrounding the incident in each individual  case.")(internal

            quotation omitted).

                      Our  decisions have  adhered  to  an analysis  that

            considers  the totality  of the  circumstances particular  to

            each encounter.   Young, 105 F.3d at 6.   In doing so we have
                              _____

            had the recent opportunity to examine the existence of Fourth

            Amendment seizures under facts remarkably similar to the case

            at hand.  Thus,  in Young we found no seizure  where a police
                                _____

            cruiser   "pulled   alongside   [defendant],   the   officers

            identified themselves  as Boston  Police officers,  and asked

            'got a  minute' to  which [defendant]  replied 'sure.'"   Id.
                                                                      ___

            Similarly, in Sealey, there was no Fourth Amendment violation
                          ______

            where police officers  in a cruiser approached  the defendant

            and yelled  "Hey Stephen,  what's up?"  before the  defendant

            took  flight.   30 F.3d  at  8, 10.   In  each  instance, our

            determination  was informed by  the observation that  "in the

            absence of  an officer's  exertion  of physical  force or  an

            individual's  submission to a  show of authority,  no seizure

            occurs."  Young, 105 F.3d at 6; Sealey, 30 F.3d at 10.
                      _____                 ______

                      Cardoza  focuses  our  attention  on several  facts

            particular  to his situation that ostensibly compel a holding



                                         -21-
                                          21















            contrary to Young  and Sealey.  First, the  question posed to
                        _____      ______

            him,  "Why  are  you out  at  this  time of  night?"  is more

            demanding and pointed an inquiry than the generalized queries

            at issue  in Young  and Sealey.   Second, the  police cruiser
                         _____      ______

            turned the wrong  way up a one-way street, albeit  for a very

            short  distance, making clear the officer's intention to come

            into  contact with Cardoza.   Finally, Cardoza  adds that his

            past interactions  with the same  officer led him  to believe

            that he was not free to leave at the time he was called over.

            Although  each of  these facts  distinguishes  his case  from

            Young and  Sealey, our  job in  identifying whether  a Fourth
            _____      ______

            Amendment seizure has  occurred is not  absolutely controlled

            by the  traditional operation of factually similar precedent.

            This is so because no two police-citizen encounters will ever

            be   completely  identical.      We   therefore  reject   the

            government's assertion that  Young dispositively controls the
                                         _____

            outcome  of   this  appeal.    Instead,  "we  adhere  to  our

            traditional contextual approach, and determine only that,  in

            this  particular case, the police conduct in question did not

            amount to a  seizure."  Chesternut, 486 U.S. at 573.  We make
                                    __________

            this determination  in the  instant case  because the  police

            conduct at  issue was  not a "show  of authority"  within the

            meaning  of Fourth Amendment  jurisprudence.  Hodari  D., 499
                                                          __________

            U.S. at 625-29.





                                         -22-
                                          22















                      As the Court  observed in Hodari D., "the  test for
                                                _________

            existence of a  'show of authority' is an  objective one: not

            whether the citizen  perceived that he  was being ordered  to

            restrict  his movement, but  whether the officer's  words and

            actions would  have conveyed  that to  a reasonable  person."

            Id. at 628.  Similarly, it was noted in Chesternut that
            ___                                     __________

                      [t]he  test  is   necessarily  imprecise,
                      because  it  is  designed  to assess  the
                      coercive effect of  police conduct, taken
                      as a  whole,  rather  than  to  focus  on
                      particular  details  of that  conduct  in
                      isolation.  Moreover,  what constitutes a
                      restraint on  liberty prompting  a person
                      to  conclude  that  he  is  not  free  to
                      "leave" will  vary,  not  only  with  the
                      particular police  conduct at  issue, but
                      also  with  the  setting   in  which  the
                      conduct occurs.

            486 U.S. at 573.   

                      Our inquiry is  not directed at whether  the police

            conduct  objectively communicated  police desire to  speak to
                                                                 _____

            Cardoza, or ask  him a question.5  Rather,  we must determine
                                   ________

            whether their  conduct indicated  that they  were interfering

            with his liberty  to such an extent  that he was not  free to
                     _______

            leave.   We think  the distinction  important, and are  left,

            therefore, with  the  conclusion that  the  police  officers'

            conduct on  the night in question would not have communicated


                                
            ____________________

            5.  Indeed, it  would appear that  this is  exactly what  the
            district court  was  referring  to  when  it  stated  at  the
            suppression  hearing that  the police  "intended  to exercise
            their authority at least to  bring themselves into a position
            to confront Mr. Cardoza."

                                         -23-
                                          23















            to a  reasonable person  that the police  were attempting  to

            "intrude upon [Cardoza's] freedom of movement."  Id. at 575.
                                                             ___

                      To  begin with, no  sirens or flashing  lights were

            used by  the officers to  indicate to Cardoza that  he should

            stop in  his tracks.   Similarly, the  police cruiser  pulled

            over and stopped at the  curb before Officer Brown called out

            to Cardoza.  Compare Chesternut, 486 U.S. at 576 (short drive
                         _______ __________

            alongside defendant  not "so  intimidating" as  to constitute

            seizure).   And  Officer Brown  remained in  the car  when he

            called  out to  Cardoza.   In total,  the encounter  does not

            objectively communicate a "restrain[t against] his freedom to

            walk away . . . ."  Terry, 392 U.S. at 16.  Officer Brown did
                                _____

            not  ask Cardoza to  stop, or even  to approach the  car.  He

            simply  called  out  through  an  open  car  window with  the

            question  "what are  you doing  out at  this time  of night?"

            Those  words do  not objectively  communicate  an attempt  to

            restrain Cardoza's  liberty.   We  are therefore  unpersuaded

            that the  police officers' actions  transformed "mere  police

            questioning," Bostick, 501 U.S. at 434, into a seizure.   
                          _______

                      We recognize,  of course,  the import of  Cardoza's

            observation that  few people,  including himself,  would ever

            feel free to walk away from any  police question.  Under this

            reasoning,  however,  the  standard  reiterated  in   Bostick
                                                                  _______

            transforms every police-citizen encounter into a seizure. See
                                                                      ___

            United  States v. Tavolacci,  895 F.2d 1423,  1425 (D.C. Cir.
            ______________    _________



                                         -24-
                                          24















            1990)(recognizing  criticism of  test as  "based  on a  false

            assumption that ordinary  citizens believe they are  normally

            free to  cut police  inquiries short.").   The "free  to walk

            away" test,  however, must  be read  in conjunction  with the

            Court's frequent admonitions  that "a seizure does  not occur

            simply  because a police officer approaches an individual and

            asks a  few questions."  Bostick, 501 U.S. at 434; Terry, 392
                                     _______                   _____

            U.S. at 19  n.16.  What emerges between  the two imperatives,

            therefore,  is the directive that police conduct, viewed from

            the   totality  of   the   circumstances,  must   objectively

            communicate  that  the  officer  is  exercising  his  or  her

            official  authority to  restrain the individual's  liberty of

            movement  before  we  can  find  that  a  seizure  occurred.6

            Because  there was  no such  objective  communication in  the

            instant  case, we  affirm  the  district  court's  denial  of

            Cardoza's motion to suppress.   

                                         IV.
                                         IV.

                                     The Sentence
                                     The Sentence

                      Cardoza's final argument  posits that his 235-month

            sentence under the Armed Career Criminal Act ("ACCA") and the


                                
            ____________________

            6.  As for Cardoza's contention  that the court's observation
            that the police officers would have "run them down" compels a
            contrary holding, he is  mistaken.  In determining  whether a
            seizure occurred, "the  subjective intent of the  officers is
            relevant   to   an  assessment   of   the   Fourth  Amendment
            implications  of police conduct only  to the extent that that
            intent   has  been  conveyed   to  the   person  confronted."
            Chesternut, 486 U.S. at 575 n.7.  
            __________

                                         -25-
                                          25















            United States Sentencing Guidelines ("U.S.S.G.") offends both

            the  Eighth  Amendment's  proscriptions  against  cruel   and

            unusual  punishments and the  Fifth Amendment's guarantees of

            due process.  

                      Cardoza  was  sentenced  under  the  Armed   Career

            Criminal   enhancement,   18   U.S.C.      924(e),   and  the

            corresponding Guideline section, U.S.S.G    4B1.4, because he

            violated the felon-in-possession statute, 18 U.S.C.   922(g),

            and had at least three prior convictions for violent felonies

            which  had been  committed on  occasions  different from  one

            another.   Cardoza's Pre-Sentence Report  ("PSR") contains  a

            record  of  four  violent  felonies  of  which  he  had  been

            convicted, which are  described below, the facts  being drawn

            from the unobjected-to portions of the PSR.  United States v.
                                                         _____________

            Voccola, 99 F.3d 37, 43 (1st Cir. 1996).7 
            _______

                      On  June  27,   1988,  Cardoza  was  arrested   and

            arraigned  for attempting to steal an automobile, assault and

            battery of a police officer, receipt  of stolen property, and

            possession  of burglarious tools.   On February  13, 1989, he

            was arrested and arraigned for stealing a woman's wallet at a

                                
            ____________________

            7.  We  briefly elaborate on  the facts  underlying Cardoza's
            four  violent  felonies   not  because  the  facts   of  each
            conviction  are relevant  to  the sentencing  process itself.
            They are not.  See United  States v. Damon, No. 97-1032, 1997
                           ___ ______________    _____
            WL  605196, at *7 (1st Cir.  Oct. 6, 1997)("Congress intended
            that   the   Guidelines  take   a  categorical   approach  to
            sentencing.").   Instead, we  provide a short  explication in
            order  to  refute  Cardoza's  contention  that  he  is  being
            sentenced solely for possession of a bullet.

                                         -26-
                                          26















            local mall, possession of burglarious tools, and receipt of a

            stolen car which  he had attempted to use in his getaway.  On

            March  15, 1989, Cardoza and another individual were arrested

            for armed robbery,  and assault and battery  with a dangerous

            weapon,  having  held  up an  individual  by  restraining the

            victim  from behind  and holding  a  screwdriver against  the

            victim's throat.  He was convicted of this latter offense and

            sentenced  on July 28, 1989, in Suffolk County Superior Court

            to twenty  years for  the armed robbery  count, two  years to

            serve,  and ten  years  on  the assault  and  battery with  a

            dangerous weapon count, one year  to serve.  He was convicted

            and sentenced on August 18, 1989, for the former two offenses

            in  Roxbury  District   Court  to  two  and   one-half  years

            incarceration  for each, sentences to run concurrent with the

            sentence  imposed in  Suffolk Superior  Court  for the  armed

            robbery charge.  Cardoza was released from prison on June 10,

            1991.  

                      Less  than  four  months  after  his  release,   on

            October 2,  1991, he was  arrested with four  other men after

            the car  in which they  were riding pulled up  beside another

            vehicle, a passenger in the car containing Cardoza pointed  a

            semi-automatic weapon out  the window, and proceeded  to fire

            four  rounds into the adjacent automobile.   He was convicted

            and  sentenced in Suffolk  County Superior Court  for assault

            with a dangerous weapon, knowingly receiving stolen property,



                                         -27-
                                          27















            and possession of a firearm.  He received three to five years

            incarceration.  Cardoza  was released on September  30, 1994.

            The offenses for which he was convicted in the instant appeal

            occurred just over nine months later.

                      At sentencing, the government and Cardoza's counsel

            agreed  that the proper  sentence calculation under  the ACCA

            and U.S.S.G. was 235 to 293 months.  No argument was  made by

            Cardoza's counsel to depart downward.8  Cardoza did, however,

            press  his constitutional arguments both in his objections to

            the  PSR  and  at  the  disposition  hearing.    Cardoza  was

            sentenced to  235 months incarceration  on Count I,  one year

            each on Counts III and IV to  run concurrent with Count I and

            each other, and supervised release  of five years.  The court

            concluded sentencing with the following statement:

                      I've given you the  most lenient sentence
                      that  I am  authorized to give  under the
                      law.  And  yet that lenient sentence,  at
                      least  given  what   discretion  I  have,
                      sentences  you to  prison  for nearly  20
                      years  of your  life.   And  the fact  is
                      that, . . . as you  were building up this
                      conviction    after   conviction    after
                      conviction after conviction  in the state
                      courts, with these short  sentences or no
                      sentences, you were laying the groundwork
                      for this  sentence which is  imposed upon

                                
            ____________________

            8.  Cardoza notes in his brief his contention that several of
            his convictions below were unconstitutionally obtained.   His
            counsel conceded at the disposition hearing, however, that he
            cannot collaterally  attack these convictions  at sentencing.
            Custis  v.  United States,  511  U.S.  485,  497 (1994).  The
            ______      _____________
            district  court was  correct that  Cardoza may  return  to it
            should a  subsequent constitutional attack  prove successful.
            United States v. Pettiford, 101 F.3d 199 (1st Cir. 1996).
            _____________    _________

                                         -28-
                                          28















                      you exactly as  [your attorney] explained
                      it, because you are a felon in possession
                      of ammunition,  one bullet;  and because,
                      given   your  prior   history,  you   are
                      considered by the Court and by society to
                      be an armed career criminal.

                           Now, these are the  laws that I must
                      follow.  Society has decided through  the
                      Congress that it simply will not tolerate
                      this violence,  will not  tolerate people
                      who have  such a  record from  committing
                      other crimes.   I  am required  to impose
                      this sentence  given the  legal framework
                      under which  we operate.   It  is a  just
                      sentence.

                                          A.
                                          A.

                                 The Eighth Amendment
                                 The Eighth Amendment

                      Cardoza supports his  Eighth Amendment challenge on

            the basis of  the Supreme Court's decision in  Solem v. Helm,
                                                           _____    ____

            463 U.S. 277 (1983), arguing that his sentence, like the life

            sentence  imposed  in  Helm under  a  recidivist  statute for
                                   ____

            writing  a   $100  "no-account"   check,  is   "significantly

            disproportionate to his crime, and is therefore prohibited by

            the Eighth Amendment,"  id. at 303.  He  acknowledges that we
                                    ___

            have  rejected a facial challenge to the constitutionality of

            the ACCA,  United States  v. Gilliard, 847  F.2d 21,  27 (1st
                       _____________     ________

            Cir. 1988), and instead questions only  the constitutionality

            of  the ACCA  provisions as  applied to  him, given  that his

            possessory offense involved only one bullet.

                      Although  the Court  in  Helm  stated  that  "[t]he
                                               ____

            constitutional   principle   of  proportionality   has   been

            recognized explicitly  in the  Court for  almost a  century,"


                                         -29-
                                          29















            Helm, 463  U.S.  at  286,  it  also  recognized  that  "prior
            ____

            convictions  are relevant to the sentencing decision", id. at
                                                                   ___

            296 n.21.  Similarly, the Court's most recent examination  of

            proportionality has,  at the  very least,  cast doubt  on the

            exact method by which a reviewing court should  approach such

            challenges in non-capital cases.  In the plurality opinion of

            Harmelin  v.  Michigan,  501 U.S.  957  (1991),  two justices
            ________      ________

            sought to limit proportionality review to capital cases only,

            id.  at  994 (opinion  of  Scalia, J.,  joined  by Rehnquist,
            ___

            C.J.),  three justices  recognized a  "narrow proportionality

            principle," id.  at 997  (opinion of  Kennedy, J.,  joined by
                        ___

            O'Connor  and Souter, JJ.),  and three justices  dissented on

            the grounds  that Helm's three-factor  proportionality review
                              ____

            controlled, id.  at 1021  (White, J.,  dissenting, joined  by
                        ___

            Blackmun and Stevens,  JJ.).  We have interpreted Harmelin to
                                                              ________

            require  a   defendant  seeking  proportionality   review  to

            demonstrate, at the threshold, an "initial inference of gross

            disproportionality," Tart  v. Commonwealth  of Massachusetts,
                                 ____     ______________________________

            949 F.2d 490, 503 n.16  (1st Cir. 1991), between the "gravity

            of [the]  criminal conduct  and  the severity  of the  . .  .

            penalty" imposed, United  States v. Bucuvalas, 970  F.2d 937,
                              ______________    _________

            946 (1st Cir. 1992).  See Harmelin, 501 U.S. at 1005 (opinion
                                  ___ ________

            of     Kennedy,     J.)      ("[I]ntrajuris-dictional     and

            interjurisdictional analyses are appropriate only in the rare

            case in which a threshold  comparison of the crime  committed



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                                          30















            and the  sentence  imposed leads  to  an inference  of  gross

            disproportionality."); United States v. Graciani, 61 F.3d 70,
                                   _____________    ________

            76 (1st Cir. 1995); United  States v. Saccoccia, 58 F.3d 754,
                                ______________    _________

            788-89 (1st Cir. 1995), cert. denied, 116 S. Ct. 1322 (1996).
                                    _____ ______

                      Thus, in Graciani,  we upheld a  280-month sentence
                               ________

            for the distribution of 85.3 grams of crack cocaine against a

            proportionality attack.   61 F.3d  at 73, 77.   Similarly, in

            Saccoccia we upheld a mandatory life sentence in a drug-money
            _________

            laundering scheme, stating that

                      Congress  --  not  the  judiciary  --  is
                      vested with the authority  to define, and
                      attempt to  solve, the  societal problems
                      created   by   drug   trafficking  across
                      national and state borders.   The Supreme
                      Court has made  it plain that the  use of
                      severe   penalties   as   part   of   the
                      legislative   armamentarium   does    not
                      constitute cruel and unusual punishment.

            58 F.3d at 789.  

                      Against this backdrop, we cannot say that Cardoza's

            sentence   supports  the   necessary   "inference  of   gross

            disproportionality."   Bucuvalas, 970  F.2d at 946.   Cardoza
                                   _________

            has  not been sentenced  to a 235-month  incarceration solely

            because he was in possession of a single bullet, as his brief

            strenuously argues.  Rather, he  has been sentenced to such a

            term because  (1) he was  a convicted felon in  possession of

            the bullet,  and (2) he  had previously been convicted  of at

            least three violent  felonies.  Further, despite  counsel for

            appellant's position  at  oral argument,  a bullet  is not  a



                                         -31-
                                          31















            "souvenir."   It  is a  live round  of ammunition  capable of

            doing considerable  harm when fired  from a gun.   With those

            clarifications in mind,  the sentence imposed upon  him under

            the  ACCA  recidivist  statute  does  not  give  rise  to  an

            inference  of  constitutional  infirmity.   As  we  stated in

            Gilliard,
            ________

                           The purpose of  a recidivist statute
                      . .  . is  not to  simplify  the task  of
                      prosecutors,  judges  or   juries.    Its
                      primary   goals  are   to  deter   repeat
                      offenders and, at some point  in the life
                      of  one who  repeatedly commits  criminal
                      offenses serious enough to be punished as
                      felonies, to  segregate that  person from
                      the  rest  of  society  for  an  extended
                      period of  time.  . .  .   Like the  line
                      dividing felony theft from petty larceny,
                      the point at  which a recidivist will  be
                      deemed to have demonstrated the necessary
                      propensities and the amount  of time that
                      the  recidivist  will  be  isolated  from
                      society  are matters  largely within  the
                      discretion of the punishing jurisdiction.

            847 F.2d at 26 (quoting Rummel v. Estelle, 445 U.S. 263, 284-
                                    ______    _______

            85 (1980)).  While it may be the case that reasonable persons

            will disagree as to the  wisdom of the policy choice inherent

            in  the  imposition   of  a  sentence  such  as   this,  such

            disagreements  do not,  in  the instant  case,  give rise  to

            constitutional concerns.      In  the  years   preceding  his

            conviction  below, Cardoza  had  racked  up  at  least  three

            convictions  for  violent  felonies  in   the  state  courts.

            Responding  to  the  very  problem  presented   by  Cardoza's

            conduct, Congress decided to "infuse federal law  enforcement



                                         -32-
                                          32















            into efforts at  curbing and 'incapacitating''armed, habitual

            (career) criminals.'"  Id. (alteration  in original) (quoting
                                   ___

            H.R.  Rep.   No.  1073,  at  2  (1984),   reprinted  in  1984
                                                      _________  __

            U.S.C.C.A.N. 3661,  3662).    Viewing,  therefore, the  total

            conduct for which Cardoza has been sentenced, we  cannot find

            a supportable inference of gross disproportionality, and thus

            reject his Eighth Amendment challenge.

                                          B.
                                          B.

                                     Due Process
                                     Due Process

                      We  note at the  outset that Cardoza's  due process

            challenge was  not raised  below.  The  only mention  made of

            this challenge in the district court is by incantation of the

            term "Due Process" in Cardoza's objections to the PSR.  It is

            well-settled  that  "issues  adverted  to  in  a  perfunctory

            manner,   unaccompanied   by   some   effort   at   developed

            argumentation, are  deemed waived. .  . .   It is  not enough

            merely to  mention a possible  argument in the  most skeletal

            way, leaving the court to do counsel's work . . .  ."  United
                                                                   ______

            States  v. Zannino,  895  F.2d 1,  17 (1st  Cir.  1990).   We
            ______     _______

            therefore review  Cardoza's claim  for plain  error.   United
                                                                   ______

            States v.  Olano, 507  U.S. 725,  732 (1993).    It does  not
            ______     _____

            occupy our attention for long.

                      Cardoza  bases  his due  process  challenge  on our

            decision in United  States v. Lombard, 72 F.3d  170 (1st Cir.
                        ______________    _______

            1995)(Lombard I).  There, we vacated a  sentence and remanded
                  _______



                                         -33-
                                          33















            because the district  court erroneously believed that  it had

            no  authority  to depart  downward,  despite  the substantial

            effect that consideration of previously acquitted conduct had

            on Lombard's sentence.   Id. at 187.  We  were concerned that
                                     ___

            "the sentencing phase  of the defendant's trial  produced the

            conclusion he had committed murder and mandated imposition of

            a life sentence,  but without the protections  which normally

            attend the criminal process, such as the requirement of proof

            beyond a reasonable doubt."  Id. at 179-80.  Our decision was
                                         ___

            compelled by  both the  extreme facts  and the  determination

            that the "district  court did not recognize  its authority to

            consider   whether  a  downward  departure  would  have  been

            appropriate . . . ."   Id. at  187.  We were,  however, clear
                                   ___

            that Lombard I is "an unusual and perhaps a singular case, at
                 _______

            the boundaries of constitutional sentencing law, and does not

            provide an  open door."   Id.   Indeed, following  remand, we
                                      ___

            upheld the  imposition of the  same life sentence,  after the

            district  court recognized its authority to depart, and chose

            not to exercise it.  United States v. Lombard, 102 F.3d 1, 2,
                                 _____________    _______

            5  (1st   Cir.  1996),   cert.  denied,   117  S.   Ct.  2437
                                     _____  ______

            (1997)(Lombard II).  
                   _______

                      None  of the  concerns  animating  our decision  in

            Lombard   I  are  present   here.    Most   importantly,  the
            _______

            enhancement below  was  predicated on  convictions that  were

            obtained in state court, as opposed to  the uncharged, indeed



                                         -34-
                                          34















            acquitted,  conduct enhancements at  play in Lombard  I.  And
                                                         _______

            Cardoza  does not  suggest  that  he was  denied  any of  the

            procedural protections found lacking in Lombard I.  In short,
                                                    _______

            we do  not think  this case  lies,  like Lombard  I, "at  the
                                                     _______

            boundaries of constitutional sentencing law . . . ."  Lombard
                                                                  _______

            I, 72 F.3d at 187.9  

                      Finally,  Cardoza   makes  three   brief  arguments

            concerning  the  calculation  of his  criminal  history.   As

            Cardoza himself recognizes, however, resolution of any errors

            would not affect  his sentence.  We therefore  need not reach

            them.    We note  only  that  should  Cardoza return  to  the

            district  court  for  resentencing, see  supra  note  8, this
                                                ___  _____

            opinion does not preclude him from raising, at that time, his

            criminal history arguments.

                                      Conclusion
                                      Conclusion

                      For  the  foregoing  reasons, the  convictions  and

            sentence below are affirmed.
                               affirmed
                               ________












                                
            ____________________

            9.  Cardoza also makes vague allusions in his brief to double
            jeopardy and federalism concerns  attendant in his  sentence.
            These  arguments are completely  undeveloped, and  are deemed
            waived.  See Zannino, 895 F.2d at 17.
                     ___ _______

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